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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF VERMONT
                                                                                  2122 SEit -8 AK II: ltl
DENISE THOMPSON and                                     )                                 CLEr\K
ROBERT E. THOMPSON, JR.                                 )
                                                        )
                                                                                  BY_-"-0/f
                                                                                        ___
                                                                                      ['E PUTY CLER~
                                      Plaintiffs,       )
                                                        )   Case No.:     J :JJ- CV -/70
                      V.                                )
                                                        )
KILLINGTON/PICO SKI RESORT                              )
PARTNERS, LLC                                           )
                                      Defendant.        )



                   COMPLAINT AND DEMAND FOR TRIAL BY JURY

                               PRELIMINARY STATEMENT


This is a civil action seeking compensatory damages allowed by Vermont law for personal

injuries suffered in a skier-snowmobile collision on February 19, 2022.

                                        JURISDICTION

1.     This court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a), there being

       in excess of$75,000.00, exclusive of interest and costs, in controversy and this action

       being between citizens of different states.

                                            PARTIES

2.     Plaintiff Denise Thompson and is a resident of Bergen County, New Jersey.

3.     Plaintiff Robert E. Thompson, Jr. is a resident of Bergen County, New Jersey, and at all

       relevant times has been married to Denise Thompson.

4.     Defendant Killington/Pico Ski Resort Partners, LLC is a limited liability company

       incorporated in Delaware with its principal place of business in Killington, Vermont.

5.     Defendant Killington/Pico Ski Resort Partners, LLC owns and operates the Killington

       Resort.
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                                                FACTS

6.      On February 19, 2022, an employee of Killington/Pico Ski Resort Partners, LLC was

        driving a snowmobile up a ski trail on the mountain.

7.      The employee was acting within the scope and course of his employment for the

        defendant.

8.      At the same time, Denise Thompson was skiing down the same ski trail.

9.      As the driver operating the snowmobile ascended the ski trail, the driver negligently

        collided with Denise Thompson.

10.     As a result of the collision, Denise Thompson was injured.

               COUNT I - PERSONAL INJURIES OF DENISE THOMPSON

11.     Plaintiff Denise Thompson was injured as a proximate result of the negligence of the

        defendant.

        COUNT II - LOSS OF CONSORTIUM OF ROBERT E. THOMPSON, JR.

12.     As a result of the injuries Denise Thompson incurred due to defendant's negligence,

        Plaintiff Robert E. Thompson, Jr. suffered a loss of spousal consortium.

                                             CLAIM FOR RELIEF

        WHEREFORE, Plaintiffs demand judgment against the Defendant in an amount within

the jurisdictional limits of this court, and for other relief as is just and proper.



                                           JURY DEMAND

        Plaintiffs demand a trial by jury.




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DATED at Burlington, Vermont this 7th day of September, 2022.

                                           SHOUP EVERS & GREEN, PLLC

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